Case 1:17-cv-00639-L.]V-|\/|.]R Document 24 Filed 05/23/18 Page 1 of 1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

JOSEPH SMITH and RONALD RAISER

Plaintiff(s),
MEDIA TION
CERTIFICATION
17 - cv - 00639
V.
CITY OF BUFFALO, et al.,
Defendant(s).

 

I hereby certify that:

 

/ The mediation session scheduled for 05/22/2018 has been adjourned to 07/24/2018 .

 

 

Case settled prior to the first mediation session.

 

 

 

 

Mediation session was held on

 

 

Case has seltled. (Connnent if necessary).

 

|(:ase has not settled. Mediation will continue on

 

 

 

 

Case has not sellled. Mediation is complete. The case will proceed toward trial
pursuant to the Court's scheduling order.

 

Dale: 05/23/2018 Medialor: /S/ Michael Menard

Additional Commenls:

 

 

 

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